
AlviN HawkiNS, J.,
delivered the opinion of the Court.
The decree of the Chancellor is erroneous. A court of chancery will not grant a new trial at law, or take *642jurisdiction to try a cause, after judgment at law, unless it appear that the complainant failed to make defense, or lost his remedy at law, through accident, mistake or fraud, unmixed with any negligence on his part. Mere ignorance of a defense, is not sufficient.
The ground relied on in this case, is, that the defense was not discovered until after the judgment at law.
Parties must be held to a preparation for the trial of their causes; and when judgments are obtained without accident, mistake or fraud, unmixed with negligence on the part of the complainant, they must 1 be held as conclusive.
There must be an end to litigation; and negligence of parties in making defense, or in the preparation of their causes, must not be encouraged.
The defense now sought to be set up, was as available at law as in equity.
Let the decree be reversed, and the bill dismissed, with costs.
